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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

In re:                                           Case No.: 18-14821-LMI

WILL ZAMORA,                                     Chapter 13

         Debtor.
                                             /

             CREDITOR TIMOTHY MOSLEY’S COMBINED RESPONSE TO
            THE DEBTOR’S MOTION FOR A PROTECTIVE ORDER [ECF 26]
         AND SUPPLEMENT TO HIS MAY 30, 2018 EMERGENCY OBJECTION TO
                THE DEBTOR’S NOTICE OF VOLUNTARY DISMISSAL
              AND MOTION TO CONVERT CASE TO CHAPTER 7 [ECF 20]

         Creditor Timothy Mosley (“Mosley”) submits his combined Response to the Debtor Will
Zamora’s (the “Debtor”) Motion for a Protective Order [ECF 26] and Supplement to Mosley’s
May 30, 2018 Emergency Objection to the Debtor’s Notice of Voluntary Dismissal and Motion
to Convert Case to Chapter 7 [ECF 20].
         I.     Timeline of Pertinent Events
          On April 25, 2018, the Debtor filed this chapter 13 bankruptcy (the “Petition”) [ECF 1].
The Debtor’s filing consists of a “bare bones” seven-page Petition with no schedules or any other
papers or filings. In response to Question #11 of his Petition, the Debtor fills in the box that he
rents his residence, and also fills in the box that his landlord did not have an eviction judgment
against him [ECF 21 at p. 3]. In fact, however, on April 17, 2018, the Miami-Dade Court
entered an eviction judgment in favor of Mosley against the Debtor, obligating the Debtor to
deposit $50,000 on or before April 20, 2018 into the registry of the court, and $30,000 per month
in rent thereafter, or a writ of possession for the Debtor’s eviction would be issued without a
further hearing [ECF 8, Ex. C]. The Debtor failed to make any of these payments, so the Miami-
Dade Court accordingly issued its writ of possession on April 24, 2018, which was served later
that same day by the Sheriff [ECF 8, Ex. E]. Before the Sheriff could return the following day to
enforce the writ of possession, the Debtor filed this chapter 13 on April 25, 2018. The Debtor
immediately filed a suggestion of bankruptcy in Mosley’s Miami-Dade eviction action, which



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resulted in the Sheriff refusing to enforce the writ of possession without Mosley first obtaining
an order of stay relief from this Court.
       The Debtor’s representation of no eviction judgment on the seven-page Petition is clearly
false and misleading. In fact, it is a downright lie. The Debtor also discloses on his seven-page
Petition that he has between $0 and $50,000 in assets, and between $0 and $50,000 in liabilities
[ECF 1 at # 19, 20]. However, as demonstrated below, neither of these statements is true. Apart
from the misrepresentations concerning the lack of any eviction judgment and the Debtor’s
assets and liabilities, no other information apart from the Debtor’s name, address, and “Social
Security number” is disclosed in the Petition. At no time since the filing of the Petition has the
Debtor disclosed a single creditor or created any service or creditor matrix. To this day, only the
Debtor’s attorney, the standing chapter 13 trustee, and Mosley, on account of the Debtor filing a
suggestion of bankruptcy in Mosley’s eviction action (which caused Mosley to file an
appearance in this bankruptcy to obtain stay relief), have received notices in this bankruptcy. All
other creditors have been kept completely in the dark; presumably intentionally so.
       The Debtor’s representation to Question #10 of his Petition that he has not filed any
bankruptcies in the last eight years is also woefully inaccurate. In his present Petition, the last
four digits of the Debtor’s Social Security number are listed as “9623.” However, a “William
Yanes Zamora” has filed four prior chapter 13 cases with this Court, all with the last four digits
listed as “2396.” The Debtor’s driver license lists his middle name as “Yanes.” It will come as
no surprise to this Court that these four prior chapter 13 cases were all dismissed for the Debtor’s
failure to file any schedules. These are Case Nos. 14-30083-RAM, 11-22923-RAM, 09-11008-
LMI, and 08-12574-AJC. Two of these cases were filed within the last eight years, making the
Debtor’s answer to Question #10 on the Petition also false. Inverting Social Security digits in
this manner is a decades-old trick to avoid detection of a repeat filer by the clerk’s office. This
constitutes perjury and criminal activity by the Debtor far beyond failing to make a required
disclosure on the Petition. All of this reflects the Debtor’s cavalier attitude about the process and
sanctity of this Court.
       On April 26, 2018, the Clerk of Court issued a notice of incomplete filing to the Debtor
requiring the Debtor to file all of his schedules, related papers, and plan on or before May 9,
2018 [ECF 3].




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        On April 30, 2018, Mosley filed his emergency motion for stay relief to enforce the writ
of possession [ECF 8], which the Court set for a hearing to be held on May 8, 2018 [ECF 9], and
which the Court granted on May 8, 2018, with the Order entered on May 10, 2018 [ECF 14].
        On May 9, 2018, the Debtor filed a motion to extend the time to file his schedules, a
proposed plan, and all other documents necessary for a chapter 13, representing that “[t]he
Debtor is actively working on obtaining all documents needed to complete his schedules,
statement of financial affairs, statement of current monthly income and chapter 13 plan.” [ECF
12]. To date no schedules or any other related papers have been filed with this Court. There has
been no disclosure of information to this Court about any of the Debtor’s assets or liabilities.
This is because the filing was never intended to be anything more than a measure to stop the
eviction.
        On May 16, 2018, the Court entered an Order in response to this Motion setting the
deadline of June 9, 2018 for the Debtor to file all of his schedules and necessary papers,
including a chapter 13 plan [ECF 18]. Again, no such schedules or papers have ever been filed;
just like all of the prior cases identified above.
        The deadline for the Debtor to vacate Mosley’s house under the Court’s stay relief order
was May 25, 2018, which was upon the expiration of the 14 days from entry of the order
affording Mosley stay relief. As this Court will recall, the parties had agreed not to ask the Court
to waive the 14-days so as to afford the Debtor the opportunity to consummate a purchase of
Mosley’s house pursuant to a pre-existing sales contract for $2.8 million [ECF 8, Ex. A]. This
was because the day before the stay relief hearing, the Debtor and his wife, through her attorney,
Ms. Christiansen, provided Mosley with purported proof of $2.8 million in funds to close. See
Exhibit “A.”
        Thereafter, during the 14 days after entry of the Court’s stay relief Order, the Debtor, and
counsel for his wife, strung Mosley along until the very last day with promises of the ability to
close, constantly changing the terms of any purported deal, and then announced their inability to
close the night before the final day to vacate. See Exhibit “B,” though referencing Federal Rule
of Evidence 408 only contains non-privileged email chain. Moreover, despite counsel for the
Debtor’s wife representing to Mosley’s counsel on several occasions that the Debtor and his
family would cooperate fully and be out of the house by the final day without any need for the
Sheriff to enforce the writ of possession, see Exhibit “C,” Mosley was forced to pay the Sheriff



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to enforce the writ, which ultimately required five police officers and became a major ordeal
spanning the course of two full days.
       More specifically, when the Sheriff’s deputies arrived at the house with Mosley’s cousin
on the afternoon of the 15th day (May 25, 2018), they encountered a slew of new luxury cars
parked in front of the house. See Exhibit “D.” No plans had been made by the Debtor or his
wife to vacate the house, in fact they were barely packed. Though initially fully furnished with
Mosley’s items, the house was full of the personal effects of the Debtor and his family which
were not ready to be removed. In fact, because the Debtor and his wife refused to open the door
to the house, the Sheriff was forced to call the local police to assist in enforcing the writ of
possession. Additionally, despite promises by counsel for the wife, the keys were never turned
over to Mosley’s representatives, nor was the gate code ever provided (all of which caused
additional funds to be expended by Mosley).
       The eviction process took approximately five hours on the first day, with attempted
delays and resistance from the inhabitants who had to be threatened with arrest before they
would begin to pack and leave. Thereafter, Mosley had to make arrangements on that Saturday
May 26, 2018 to have people at the house in order to supervise the removal of remaining items.
As this was Memorial Day weekend, every cost was further enlarged. Mosley’s house and its
grounds were left in a terrible state of damage, disrepair, and neglect. See Composite Exhibit
“E.”
       Moreover, the house had been rented furnished and with maintenance being the
responsibility of the Debtor [ECF 8, Ex. A]. It is important to note that multiple items of
Mosley’s property are damaged or missing. See Composite Exhibit “F.” The inhabitants stated
during the eviction that much of Mosley’s missing items were in a warehouse owned by the
Debtor (another asset not disclosed), but provided no details on their whereabouts. To date none
of these missing items has been returned and no further information has been provided to Mosley
by the Debtor or his counsel or the wife’s counsel despite their being aware of these losses and
having been warned at the stay relief hearing about these issues.
       Five days after the stay relief hearing, and ten days before his schedules, related items,
and chapter 13 plan were due under the Court’s Order, on May 30, 2018, the Debtor filed his
Notice of Voluntary Dismissal [ECF 19], to which Mosley filed an immediate and emergency




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objection and motion to convert to a chapter 7 [ECF 20]. The Court set both matters for a
hearing to be held on July 17, 2018 [ECF 21].
        Two days later, on Friday, June 1, 2018, Mosley filed a Notice of Taking 2004
Examination Duces Tecum of the Debtor scheduled for July 9, 2018 [ECF 22], which was
amended on Monday, June 4, 2018 to add a few additional documents [ECF 24]. On Monday,
June 4, 2018, Mosley issued a document subpoena to EquityMax LLC [ECF 23], the entity in the
letter which the Debtor had provided to Mosley showing purported proof of $2.8 million in funds
to close, see Exhibit “A.” On June 4, 2018, Mosley filed a proof of claim for $268,383.42, plus
unliquidated sums, see Claim 1. Mosley’s proof of claim sets forth categories of damages for
unpaid rent, stolen items, damaged items, damage to the house and grounds, and sums still due
relating to the failed closing.
        Also on Monday, June 4, 2018, the next business day after the original duces tecum
deposition notice had been filed and served, and the same day the amended duces tecum was
filed and served, the undersigned sent an email to Debtor’s counsel offering to reschedule the
Debtor’s July 9, 2018 examination, if July 9 was not convenient. See Exhibit “G.” Mosley
requested alternative dates prior to the Court’s July 17 hearing. Having received no response,
the undersigned re-forwarded that email on June 6, 2018 asking again for a response and an
update from the Debtor. See Exhibit “G.” No response was ever received.
        Instead on June 7, 2018, the Debtor filed a motion for a protective order complaining
about the Debtor’s 2004 examination being unilaterally scheduled and claiming that neither the
Debtor nor his counsel were available for any 2004 examination prior to the July 17, 2018
hearing, and further asking the Court to rule on the pending matters prior to any examination or
document production [ECF 26]. For good measure, the Debtor also asked the Court to stay
enforcement of the EquityMax LLC subpoena. The undersigned reached out to see if at least the
Debtor could produce the documents requested by Mosley prior to the July 17, 2018 hearing,
even if the Debtor was truly unavailable for a deposition, or alternatively to postpone the July 17,
2018 hearing until after a document production and examination could be undertaken. The
Debtor has declined on both counts. See Exhibit “H.” Rather, the Debtor seems intent on hiding
all of this information in an attempt to hamstring Mosley’s ability to pursue this motion and
shield such information from this Court’s review of the issues at hand. This is totally contrary to
the purpose of a bankruptcy which is for open and full information to be provided to all parties in



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interest including the Court; clearly the Debtor thinks little of this process and his obligations as
a debtor before this Court.
       By way of further example, to that end, despite the Court’s May 16, 2018 Order [ECF 18]
setting the June 9, 2018 deadline to file schedules, all related papers, and a chapter 13 plan, the
Debtor has filed nothing further with this Court. The Debtor has simply ignored this Court’s
orders, having no regard it would seem for the process; the Debtor has not even bothered to file a
motion to excuse or to delay compliance with the Court’s May 16, 2018 Order. In fact, to date,
there is still no matrix. Such behavior is outrageous and may be emboldened by all of the prior
filings wherein it seems the Debtor was allowed to utilize this Court as his personal device to
stay litigation and avoid obligations on his own timetable without any repurcussion.
       The Debtor now claims an absolute right to dismiss his chapter 13 upon demand and
seeks to walk away from his chapter 13 case.
       II.     The Debtor Has No Absolute Right Of Dismissal Under § 1307(b).
       Section 1307(b) of Title 11 provides in relevant part that “[o]n request of the debtor at
any time, if the case has not been converted under section 706, 1112, or 1208 of this title, the
court shall dismiss a case under this chapter.” Section 1307(c) of Title 11 permits the Court to
convert a chapter 13 debtor’s case to a chapter 7 for “cause,” which includes bad faith.
       While the traditional belief was that a chapter 13 debtor has an “absolute” right of
dismissal, most courts—and one within this district—have held otherwise after the Supreme
Court’s ruling in Marrama v. Citizens Banks of Mass., 549 U.S. 365 (2007), which held that
despite ostensible text to the contrary in the Bankruptcy Code, the inherent requirement of good
faith in every bankruptcy filing prevents a debtor from converting a chapter 7 to a chapter 13 if
the bankruptcy court finds the filing was in bad faith. E.g. In re Letterese, 397 B.R. 507, 512
(Bankr. S.D. Fla. 2008). In Letterese, a debtor filed a chapter 13, with complete schedules, but
filed a notice of voluntary dismissal three days before his § 341 meeting of creditors. Id. at 510-
11. Two creditors immediately filed motions to set that dismissal aside and to convert the case to
a chapter 7. Id. at 510.
       The bankruptcy court held a hearing on the matter, with the threshold issue being whether
a chapter 13 debtor has an “absolute” right of dismissal under § 1307(b). Letterese, 397 B.R. at
512. The bankruptcy court found no “absolute” right exists, and with an evidentiary showing of
bad faith, voluntary dismissal was denied and the case converted to a chapter 7 instead. Id. The



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bankruptcy court reasoned that an inherent requirement of good faith exists in all chapter 13
cases, relying upon Marrama and In re Kitchens, 702 F.2d 885 (11th Cir. 1983). Id. “Courts
which have considered the issue since the Supreme Court’s ruling in Marrama have held that
this requisite good faith conduct prevents a bad faith debtor in chapter 13 from having an
absolute right to dismiss under section 1307(b).” Id. (citing Rossom v. Fitzgerald, 545 F.3d 764,
773 (9th Cir. 2008) (holding that [a]fter Marrama, “the debtor’s right of voluntary dismissal
under §1307(b) is not absolute, but is qualified by the authority of a bankruptcy court to deny
dismissal on grounds of bad-faith conduct or to prevent an abuse of process.” (emphasis
added))).
       The bulk of opinions after Marrama adopt the reasoning of Rossom, including the Fifth
Circuit, holding no absolute right to dismiss a chapter 13 exists in the face of bad faith. Jacobsen
v. Moser (In re Jacobsen), 609 F.3d 647, 660 (5th Cir. 2010) (“We thereby reject a construction
of the statute that would afford an abusive debtor an escape hatch . . . .”); In re Caola, 422 B.R.
13, 20-21 (Bankr. D.N.J. 2010) (bad faith prevents voluntary dismissal, but evidentiary hearing
needed on existence of bad faith); In re Armstrong, 408 B.R. 559 (Bankr. E.D.N.Y. 2009)
(absolute right to dismiss did not survive Marrama, but court must hear evidence on bad faith);
In re Norsworthy, Case No. 05-15098-WHD, Bankr. N.D. Ga. May 27, 2009 (dismissal not an
absolutely right after Marrama, evidentiary hearing required on request to convert to a chapter
7).
       In addition, the Eleventh Circuit has previously addressed the role of good faith in
chapter 13 bankruptcies in another context which is fully applicable here. “Congress intended to
provide bankruptcy courts with a discretionary means to preserve the bankruptcy process for its
intended purpose.” In re Waldron, 785 F.2d 936, 941 (11th Cir. 1986). Thus, bankruptcy courts
are entrusted with ensuring the integrity of the system itself: “[w]henever a Chapter 13 petition
appears to be tainted with a questionable purpose, it is incumbent upon the bankruptcy courts to
examine and question the debtor’s motives . . . . The protections and forgiveness inherent in the
bankruptcy laws surely require conduct consistent with the concepts of basic honesty. Good
faith or basic honesty is the very antithesis of attempting to circumvent a legal obligation through
a technicality of law.” Id.
       After Marrama, when faced with an objection to dismissal and a motion to convert to a
chapter 7, the Court’s inquiry is first, “whether the Debtor’s conduct here was in sufficient bad



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faith as to preclude him from voluntarily dismissing this chapter 13 case, and second, whether
that conduct was in sufficient bad faith to justify conversion to chapter 7.” Letterese, 397 B.R. at
512. A determination as to a debtor’s “good faith” or lack thereof must be analyzed on a case-
by-case basis upon a consideration of the totality of the circumstances. Id. (citing Kitchens, 702
F.2d at 888). The pertinent facts in Letterese were schedules reflecting lack of ordinary income
because the income listed was aspirational, unusually high monthly expense, the refusal to
acknowledge or address claimants holding final judgments, and the refusal to attend a § 341
meeting of creditors. Id. at 514. In Rosson, the Ninth Circuit affirmed the conversion to chapter
7 against a request to dismiss after the debtor delayed the chapter 13 proceedings long enough to
diverted incoming estate funds and then refused to turn over those funds. 545 F.3d at 776-77. In
Jacobsen, the Debtor’s filing of inaccurate and misleading schedules, obscuring assets owned
with a spouse, and not disclosing avoidable transfers were enough to deny dismissal and affirm
conversion. 609 F.3d at 661.
       And, again, the Eleventh Circuit’s prior discussion of good faith in a chapter 13 is
compelling in this case: “the petition must be filed with the honest intent and genuine desire to
utilize the provisions [] for its intended purpose—to effectuate a corporate [sic] reorganization—
and not merely as a device to serve sinister and unworthy purposes of the petitioner . . . . The
court cannot and will not tolerate such misuse of the reorganization process.” Waldron, 785 F.2d
at 941. Further expounding: “the cornerstone of the bankruptcy courts has always been the doing
of equity. The protections and forgiveness inherent in the bankruptcy laws surely require
conduct consistent with the concepts of basic honesty. Good faith or basic honesty is the very
antithesis of attempting to circumvent a legal obligation through a technicality of the law. The
Waldrons, it seems clear to us, sought to abuse the process through a technicality to serve their
own malevolent and selfish aims. This abuse should not have been permitted.” Id. at 943.
       Thus, the Debtor has no “absolute” right to dismiss under § 1307(b). The Court must
address and consider Mosley’s allegations of bad faith. Mosley respectfully submits that bad
faith is manifest on this record.
       III.    The Debtor’s Bad Faith Prevents Dismissal Of This Chapter 13 And
               Compels Conversion To A Chapter 7.

       No evidence exists that the Debtor’s chapter 13 was filed in good faith. Quite to the
contrary, as set forth above and below, we respectfully submit that this filing was nothing but a



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tactical bad faith filing. First, it is abundantly clear that the Debtor filed this chapter 13 to
frustrate enforcement of Mosley’s hard-fought writ of possession, rather than to reorganize any
debt. The Eleventh Circuit has stated in Waldron that filing a chapter 13 to reject a contract
instead of to effectuate a legitimate reorganization is bad faith sufficient to terminate a chapter
13. 785 F.2d at 941. Under Waldron, the Debtor has certainly acted in bad faith. Rejecting a
contract is itself something permissible in bankruptcy, so long as it is coupled with a legitimate
need to reorganize. Filing a chapter 13 between the service of a writ of possession and its
enforcement is not permissible in any way, whether coupled with a legitimate reorganization
attempt or not. The Debtor’s conduct was a complete abuse of the bankruptcy process, and
nothing else.
       This is only highlighted by what is quite obviously the Debtor’s intentional “inversion”
of the last four digits of his Social Security number from “2396” to “9623” in his present chapter
13 Petition to hide the fact that is has filed four previous chapter 13 cases, all of which were
dismissed without the filing of any schedules or any disclosures as to his assets or liabilities. The
inversion of Social Security digits is a gimmick of those abusing the bankruptcy process for
improper, short-terms purposes, which can and should lead to criminal referrals to the US
Attorney’s Office and contempt proceedings. The Debtor’s most recent abuse of the chapter 13
process was in 2014. This conduct also makes the Debtor’s answer of “no” to Question # 9 on
his petition of whether he has filed any bankruptcy in the last eight years false. The Debtor has
had two of such filings. This is not innocent conduct, rather it is more evidence of bad faith, and
potentially of the criminal variety. The Debtor apparently sees the bankruptcy court as his
personal vehicle to avoid obligations and duck creditors when it suits his purpose.
       On top of this, the Debtor never created any creditor matrix or served any creditor with
this bankruptcy except Mosley, further reflecting the case was filed in bad faith at the outset. As
set forth below, the Debtor has at least one other significant creditor in active litigation. The
Debtor did no more than file a seven-page petition, which reflects he was never serious about
any reorganization. The Debtor asked for—and received—an extension of time to file schedules,
relating papers, and a plan. But when Mosley received stay relief and the Debtor’s 14 days ran
out after he strung Mosley along with promises to close on the house, and the Debtor was
physically removed from Mosley’s house with five Sheriff officers over his protests, the Debtor
simply filed his notice of voluntary dismissal with his deadline a mere ten days away to file his



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schedules, related papers, and plan. And the Debtor is now refusing to engage in any discovery
whatsoever which would call to light and identify other creditors who would have an equal
interest in what has transpired before this Court.
       Apart from the Debtor’s name and address, the Debtor’s Petition contains nothing but
bald-faced lies, including the last four digits of his Social Security number, obviously meant to
mislead the Court and the standing chapter 13 trustee. Contrary to the Petition, Mosley had a
pre-petition eviction judgment. Contrary to the Petition, the Debtor filed for bankruptcy within
the last eight years (twice). Contrary to the Debtor’s disclosure of assets between $0 and
$50,000, the Debtor was able to provide proof of $2.8 million to close on the house on May 5,
2018. On December 22, 2017, the Debtor provided a $14,000 check to Mosley from “B C & C
Industries Inc.” on the Debtor’s behalf to extend the closing deadline. See Exhibit “I.” The
persons at the house at the time of the eviction stated that the Debtor has a warehouse with some
of Mosley’s property inside. Three luxury vehicles were in the house’s driveway at the eviction,
including a 2017 740l BMW registered to the Debtor (see Exhibit “J,” William Yanes is the
Debtor’s name without the Zamora on his driver license, with the birthdate matching), a
Mercedes-Benz minibus registered to Los Cangris Corp., and a new Ford Explorer. While the
Debtor has refused to engage in any discovery at all prior to the hearing on this matter, these
facts strongly suggest he owns assets well in excess of $50,000. The fact the Debtor has tried to
block Mosley’s subpoena to the entity ostensibly holding the $2.8 million to close on the sale of
the house reflects that he has something to hide.
       Mosley himself is owed more than $50,000 in back-rent alone, not taking into account the
substantial damage and other claims set forth in Claim 1. The Debtor is also a defendant in an
active, on-going foreclosure action in Puerto Rico in which the amount of $641,125.86 has been
ordered to be paid by the Debtor, and as of April 24, 2018, had not been paid with a foreclose
sale with a deficiency pending. The docket sheet reflecting no notice of this bankruptcy and the
most recent paper reflecting the amount at issue are attached Composite Exhibit “K.” The
Debtor’s Petition is full of false information, intentionally so, reflecting bad faith supporting a
conversion. See Jacobsen, 609 F.3d at 661; In re Chabot, 411 B.R. 685, 703 (Bankr. D. Mont.
2009) (materially false schedules that would appear to have been done with the intent to mislead,
coupled with filing chapter 13 to frustrate state court litigation, merits conversion over
dismissal).



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       While the Debtor strung out the eviction process, and then used his chapter 13 case for
the apparent sole purpose of extending his rent-free time in Mosley’s home by another month,
and with apparent evidence of proof of ability to close at the $2.8 million purchase price, the
Debtor was neglecting Mosley’s house, damaging it, damaging the contents (owned by Mosley),
and stealing Mosley’s personal property from the house. Mosley’s house is a luxury 10,000
square foot 7 bedroom/5 bathroom residence in Pinecrest, Florida. The house now needs well
over $100,000 in repairs, including roof leaks and related damages, and more than $100,000 of
items belonging to Mosley are missing. Very rarely does a bankruptcy court afford a landlord or
mortgagee with stay relief and not warn the debtor of the consequences of damaging and stealing
from a residence, as the Debtor did here. As noted earlier, at the hearing on the Motion to lift the
stay this Court provided such an admonishment to counsel for the Debtor.
       Further evidence of bad faith is the Debtor’s clear refusal to comply with the Court’s
May 16, 2018 Order [ECF 18]. In Letterese, the failure to attend a § 341 meeting of creditors a
few days after the filing of a voluntary dismissal was found to exhibit bad faith and an abuse the
chapter 13 process sufficient to support conversion. 397 B.R. at 515 (filing a notice of voluntary
dismissal a few days before scheduled 341 meeting of creditors does not excuse non-appearance
and is indicative of bad faith because “[c]reditors and the standing Chapter 13 trustee expended
resources preparing and attending the 341 meeting with a full expectation that the Debtor would
appear. The Debtor’s failure to do so is unacceptable, in bad faith and offends the orderly
operation of the bankruptcy system itself.”). Seeking a Court Order extending the time to file
schedules, related papers, and a plan, and then ignoring that deadline is even worse. The good-
faith representations in ECF 12 do not appear to have been genuine. The Order was signed by
the Court after consideration of the Debtor’s motion; it is not a clerk’s office or the standing
trustee’s notice or directive setting forth potential consequences of failing to file something in a
timely manner. The Debtor has not filed a motion to excuse or delay compliance with this
Order. The Debtor has just ignored it. Bad faith is manifest. The failure to file a timely plan is
an independent basis for conversion outside of bad faith. 11 U.S.C. § 1307(c)(3).
       IV.     The Court Should Convert This Case To Chapter 7 Now, Or After Discovery
               And An Evidentiary Hearing.

       The Debtor’s bad faith is manifest based on the undisputed record activity alone. The
Court should convert this case to a chapter 7 now. If the Court believes that it needs to consider



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evidence apart from the record activity set forth above and the documents attached, then the
Court should afford Mosley with the discovery he has sought and set an evidentiary hearing after
that discovery is completed. The Court should absolutely reject the Debtor’s request that the
Court permit dismissal without any discovery and deny his motion for a protective order. The
Debtor has successfully pulled this stunt four previous times without a single set of schedules
ever filed. Enough is enough.
       Apart from the manifest bad faith that supports conversion under a myriad of caselaw, a
chapter 7 liquidation would be beneficial and appropriate. This case is not a two-party dispute
that can be better resolved in state court. In fact, by refusing to comply with Mosley’s discovery,
the Debtor has attempted to hinder Mosley’s ability to further support its position before this
court. However, even without the benefit of discovery, Mosley has been able to ascertain
himself that the Debtor has at least two creditors owed well into the six-figures each. The Debtor
has sufficient assets to obtain a $2.8 million funding commitment, to maintain a warehouse, to
drive a 2017 740l BMW and possibly other luxury cars, and be able to write a $14,000 check,
with links to two private entities. His assets in Puerto Rico are unknown. His assets in Florida
are unknown apart from the 2017 BMW 740l, but he has filed four prior chapter 13 bankruptcies
since 2008, all in Miami. But facing large judgments in two United States jurisdictions with
assets in both favors a chapter 7 for an orderly liquidation with assets and debts in multiple
locations. A chapter 7 would benefit all creditors and cease what appears to be the Debtor
moving between different places and refusing to disclose anything financial except when it suits
him, leaving a wake of damages and in Mosley’s case, theft and willful and malicious damage.
Moreover, the Debtor chose this forum, not his creditors (and now for the fourth time). The
Court should not let the Debtor simply move on after he uses this forum – once again—for an
improper purpose.
       Finally, though the Debtor’s motion for a protective order does not raise objections to any
of the specific duces tecum items at ECF 24, the documents and other items requested all pertain
to the assets and liabilities of the Debtor, which is both relevant to a chapter 7 liquidation, and to
the issue of bad faith with respect to the filing of the Debtor’s chapter 13. All of Mosley’s
discovery is proper and should be allowed.




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        V.      Conclusion
        The bad faith on this record alone is so manifest that the Court should deny the Debtor’s
request to dismiss his chapter 13, and convert it to a chapter 7 either immediately, or after
discovery and an evidentiary hearing.
        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court
for the Southern District of Florida, and I am in compliance with the additional qualifications to
practice in this Court as set forth in Local Rule 2090-1(A).
        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to
the parties listed below in the manner indicated, on this the 9th day of July, 2018.
                                              STEVEN FENDER P.A.

                                              /s/ G. Steven Fender
                                              G. STEVEN FENDER, ESQ.
                                              Florida Bar No. 060992
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       Nancy K. Neidich                      e2c8f01@ch13miami.com; ecf@chapter13.com
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